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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION

 AMY JACKSON-BOLINGER, PAMELA                   )
 JOHNSON, AND MELISSA NORTH                     )
 on behalf of themselves and all others         )
 similarly situated,                            )
                                                )
        Plaintiffs,                             )       Civil Action No. 6:19-CV-152-REW
                                                )
 v.                                             )
                                                )
 AMERICORE HEALTH, LLC, et al.,                 )
                                                )
        Defendants.                             )


       NOTICE OF COMMENCEMENT OF CHAPTER 11 BANKRUPTCY CASES

        PLEASE TAKE NOTICE that on December 31, 2019, Americore Health Enterprises,

 LLC, Americore Health, LLC and certain of their affiliates and subsidiaries (collectively, the

 “Debtors”) each filed voluntary petitions for relief under chapter 11 of title 11 of the United

 States Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Eastern

 District of Kentucky. As a result, the Debtors commenced the cases proceeding as In re

 Americore Holdings, LLC et al., Proposed Lead Chapter 11 Case No. 19-61608-grs. Pursuant to

 section 362 of the Bankruptcy Code, this proceeding against the Debtors is stayed, and all

 actions taken in violation of the stay are null and void.
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                                               Respectfully submitted,

                                               /s/ Jared A. Cox
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                                               COUNSEL FOR DEFENDANT
                                               AMERICORE HEALTH, LLC, AMERICORE
                                               HEALTH ENTERPRISES, LLC, AND AMERICORE
                                               HEALTH MANAGEMENT, LLC




                                  CERTIFICATE OF SERVICE
          I hereby certify that on the 2nd day of January, 2020, I electronically filed the foregoing
 with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
 filing to all counsel of record through the ECF system.



                                                       /s/ Jared A. Cox
                                                       COUNSEL FOR DEFENDANT
                                                       AMERICORE HEALTH, LLC,
                                                       AMERICORE HEALTH ENTERPRISES,
                                                       LLC, AND AMERICORE HEALTH
                                                       MANAGEMENT, LLC




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